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                      Exhibit A
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 TEZOS TOKENS (XTZ) ACCEPTANCE AND USE TERMS AND CONDITIONS


Last updated 10 June, 2018


The following terms and conditions (“Terms”) govern your acceptance and use of
the Tezos Foundation’s recommended allocation of XTZ in its proposed genesis
block (including in connection with the Tezos Network). You hereby confirm you
understand the Terms and hereby expressly agree to be bound by and comply with
the Terms. Please review carefully and keep a copy of these Terms for your
reference. If you have any questions about these Terms, please contact us prior to
accepting or using XTZ (including in connection with the Tezos Network).
The Tezos Foundation (the “Foundation”, “we”, “us” or “our”) reserves the right, subject
to applicable law, to make changes to, modify, or add or remove portions of these Terms,
our Privacy Policy and other incorporated terms and policies, in our sole discretion, at
any time prior to the Foundation’s allocation recommendation. We encourage you to
check our website frequently to see the current Terms in effect and any changes that may
have been made to them prior to the Foundation’s recommended XTZ allocation in its
proposed genesis block. All changes made to the Terms are effective immediately when
we post them. No one is authorized to modify these Terms with you or otherwise enter
into an agreement with you that conflicts with these Terms, except by means of written
agreement signed by an authorized agent of the Foundation, and any other purported
modifications or alterations or conflicting terms will be null and void.


Your Assumption of Risk Regarding XTZ
You hereby expressly acknowledge and agree that (i) you are accepting and using XTZ,
including in connection with the Tezos Network (which is an experimental software), at
your sole risk and expense, (ii) you have an adequate understanding of the risks, usage
and intricacies of cryptographic tokens such as XTZ and blockchain-based software such
as the Tezos Network, (iii) each of the Foundation, its current or future subsidiaries,
affiliates, directors, officers, employees, agents, representatives, and any other person or
entity with any involvement in the Foundation’s recommended allocation or in
developing software underlying the Tezos Network, in each case, whether or not affiliated
with the Foundation or any other such person or entity (collectively, the “Subject
Persons”) shall have no responsibility or liability for the loss, transfer, misappropriation,
theft, use or misuse of XTZ, including as utilized in connection with the Tezos Network,
or any financial or physical harm or loss related thereto, and you hereby irrevocably
waive any and all rights and claims with respect thereto, (v) you will comply with any
and all applicable rules and laws regarding your use of XTZ, including in connection
with the Tezos Network and (vi) the Foundation does not endorse or recommend the use
of any software or hardware wallet services and/or market exchanges (including any

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over-the-counter market) in connection with any storage, transfer or other transaction
related to XTZ, all of which may be used at your sole risk and expense.


The Tezos Network
You hereby expressly acknowledge and agree that the Tezos Network (including betanet
and mainnet) (i) is a decentralized network and the Subject Persons (A) are not
responsible for the development or launch of the Tezos Network and (B) do not operate,
maintain, support or otherwise authorize any activity related to the Tezos Network, (ii) is
likely to experience scheduled and unscheduled downtime, interruptions, delays, hard
forks, bugs, viruses, and cyberattacks, (iii) may from time to time lack features or
functionality and/or require maintenance, support or other adjustments, (iv) intends to
rest or rely on open-source software, and there is a risk that a person introduces
weaknesses, bugs, viruses or other malicious code into the core infrastructural elements
of the Tezos Network causing the system to lose or erase all or a portion of XTZ used in
connection with the Tezos Network, and (v) could be impacted in whole or in part by one
or more regulatory or governmental inquiries or actions, which could impede, limit or
restrict the use or transfer of XTZ or otherwise result in the complete or partial loss in
value of XTZ. In this respect, you understand and expressly acknowledge and agree that
the Foundation is making only a recommended allocation of XTZ to you in its proposed
genesis block, and that none of the Subject Persons are responsible for, and have any
obligation with respect to, any subsequent action by the Tezos community or on the Tezos
Network that accepts, rejects, or otherwise affects this recommended allocation, and that
there is no guarantee that you will in fact receive any XTZ as a result of the Foundation’s
recommended allocation in its proposed genesis block.


Your Responsibility to Keep the Information Available to You Confidential
If you elect to use XTZ in connection with the Tezos Network, you are solely responsible
for maintaining the confidentiality of any private information pertaining to yourself and
any account you create in connection therewith and you hereby agree to accept full
responsibility for all activities that occur under any such account, whether conducted by
or on behalf of you or without your authorization. You hereby acknowledge and agree
that none of the Subject Persons will be liable for any loss or damage arising from your
failure to comply with this Section. You hereby acknowledge and agree that any and all
information you provide to any of the Subject Persons is governed by our Privacy Policy,
and you hereby consent to all actions any of the Subject Persons take with respect to your
information consistent with our Privacy Policy.


Disclaimers



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No party—including any of the Subject Persons—makes any representation or
warranty about the suitability, reliability, availability, timeliness, security and
accuracy of XTZ, including as utilized in connection with the Tezos Network. To the
maximum extent permitted by applicable law, XTZ and all related information,
software and products are provided on “as is, where is” basis without
representations, warranties or conditions of any kind, including with respect to
merchantability, fitness for a particular purpose, title and non-infringement.


Limitation of Liability
You hereby acknowledge and agree that, to the maximum extent permitted by
applicable law, the disclaimers of liability contained herein apply to any and all
damages or injury whatsoever caused by or related to risks of, use of, or inability to
use, XTZ (including in connection with the Tezos Network) or the loss or
devaluation of XTZ under any and all causes of action whatsoever of any kind in
any jurisdiction, including, without limitation, actions for breach of warranty,
breach of contract or tort (including negligence). To the maximum extent permitted
by applicable law, in no event shall the Subject Persons be liable for any indirect,
punitive, incidental, special, consequential damages or any damages whatsoever
including, without limitation, damages for loss of use, data or profits, arising out of
or in any way connected with the use or performance of XTZ (including in
connection with the Tezos Network), with the delay or inability to use XTZ
(including in connection with the Tezos Network) or related software, the provision
of or failure to provide XTZ, or for any information, software and products
obtained in connection with your acceptance and use of the recommended allocation
of XTZ in the Foundation’s proposed genesis block, or otherwise arising out of your
acceptance and use of XTZ (including in connection with the Tezos Network),
whether based on contract, tort, negligence, strict liability or otherwise, even if any
of the Subject Persons or any of their suppliers have been advised of the possibility
of damages. Notwithstanding anything herein to the contrary, to the maximum
extent permitted by applicable law, in no event shall any of the Subject Person’s
maximum aggregate liability for any and all claims associated with or related to
these Terms and/or the issuance of XTZ be greater than CHF50,000.
Acceptance and use of the recommended allocation of XTZ (including in connection
with the Tezos Network) is unauthorized in any jurisdiction that does not give effect
to all provisions of these terms, including, without limitation, this section.


Dispute Resolution
For any and all controversies, disputes, demands, claims, or causes of action between you
and the Subject Persons (including the interpretation and scope of this Section) arising
out of your acceptance or use of the recommended allocation of XTZ in the Foundation’s

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proposed genesis block (including in connection with the Tezos Network), these Terms
(as well as any related or prior agreement that you may have had with any of the Subject
Persons), or any other aspect of XTZ or the Tezos Network shall be subject to the
exclusive jurisdiction of the courts of Zug, Switzerland.
To the maximum extent permitted by applicable law, in connection with any claims
arising out of your acceptance or use of the recommended allocation of XTZ in the
Foundation’s proposed genesis block (including in connection with the Tezos
Network), (i) you will only be permitted to pursue claims against the Subject
Persons on an individual basis, not as a plaintiff or class member in any class or
representative action or proceeding, and (ii) you will only be permitted to seek relief
(including monetary, injunctive, and declaratory relief) on an individual basis.


User Disputes
You hereby acknowledge and agree that you are solely responsible for your interactions
with any other owner or user of XTZ (including in connection with or related to the Tezos
Network) and none of the Subject Persons will have any liability or responsibility with
respect thereto.


General
These Terms will be governed by the laws of Switzerland without regard to its conflict of
law provisions. The failure of any of the Subject Persons to exercise or enforce any right
or provision of these Terms will not constitute a waiver of such right or provision. If any
provision of these Terms is found by a court of competent jurisdiction to be invalid, the
parties nevertheless agree that the court should endeavor to give effect to the parties’
intentions as reflected in the provision, and the other provisions of these Terms remain in
full force and effect. You may not assign these Terms without the prior written consent of
the Foundation, but the Foundation may assign or transfer these Terms, in whole or in
part, without restriction. The section titles in these Terms are for convenience only and
have no legal or contractual effect. Notices to you may be made via either email or
regular mail.
You agree that no joint venture, partnership, employment, or agency relationship exists
between you and any of the Subject Persons as a result of these Terms or your acceptance
or use of the recommended allocation of XTZ in the Foundation’s proposed genesis block
(including in connection with the Tezos Network). The performance of these Terms by
any of the Subject Persons is subject to existing laws and legal process, and nothing
contained in this agreement is in derogation of any of the Subject Persons’ right to
comply with governmental, court and law enforcement requests or requirements relating
to your acceptance and use of the recommended allocation of XTZ in the Foundation’s
proposed genesis block (including in connection with the Tezos Network) or information
provided to or gathered by any of the Subject Persons with respect to such use.
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Unless otherwise specified herein, these Terms constitute the entire agreement between
you and the Subject Persons with respect to your acceptance and use of the recommended
allocation of XTZ in the Foundation’s proposed genesis block (including in connection
with the Tezos Network) and they supersede all prior or contemporaneous
communications and proposals, whether electronic, oral or written, between you and the
Subject Persons with respect to your acceptance and use of the recommended allocation
of XTZ in the Foundation’s proposed genesis block (including in connection with the
Tezos Network).


Contact Us
The Foundation welcomes your questions or comments regarding these Terms via email
at media@tezosfoundation.ch.




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